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IN THE UNITED STATES DISTRICT COURT
FOR 'I`HE EASTERN DIS'I`RICT OF I’ENNSYLVANIA
UNITED STATES OF AMERICA
v. : Criminal No. 11-CR»666-0]

MICHAEI_. MOORE

PRAECIPE T() SATISFY FlNANCIAL JUDGMENT

'I`O TI'iE CLERK OF 'l`l“lE UNITED STATES DIS'I`RICT COUR'I`
FOR THE EAS"I`ERN DISTRIC'I` OF PENNSYLVANIA A'l` PHILADELPHIA:

Plcase mark as satisfied the criminal monetary penalties portion ofthc criminal
judgment entered in the above-captioned case. 'Fliis Praecipc applies only to any special
assessment. rcstitution, and criminal line obligation entered against the above-named

clel`cndanl.

ZANE DAVID MEMEGER
United States Atlorney

W‘F/l --'»--

JOSEPH F. MINNI

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Pcnnsylvania Bar ld. No. 53241
615 Chestnut Street

Suitc 1250

Philaclelphia. PA 19106-44?6
(215) 361-8200

 

Date: E/"i://Smd

Re\.»'. 3/2¢1}2015

